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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF INDIANA

INDIANAPOLIS DIVISION
JOHN M. KLUGE, )
Plaintiff, ;
V. CASE NO. 1:19-cv-2462-JMS-DLP
BROWNSBURG COMMUNITY 7
SCHOOL CORPORATION, etal, )
Defendants.

Defendant’s Responses to Plaintiffs Second Set of Interrogatories

Defendant hereby responds to Plaintiffs Second Set of Interrogatories:

Objections to Plaintiff's “Instructions for Answering”

1. Defendant objects to Plaintiffs Instruction No. 2 to the extent it attempts
to impose an obligation on Defendant inconsistent with Federal Rule of Civil
Procedure 26(b)(3). That Rule exempts from discovery documents and tangible
things that are prepared in anticipation of litigation or for trial by or for another
party or its representative (including the other party’s attorney, consultant, surety,
indemnitor, insurer or agent). Defendants therefore object to the production of
documents within he possession, custody, or control of the Defendant, its agents,
representatives and attorneys, that are privileged and/or exempt from discovery
under Rule 26(b)(38).

2. Defendant objects to Plaintiffs Instruction No. 12 because it attempts to

impose an obligation on Defendant that exceeds that stated in Federal Rule of Civil
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Procedure 26(b)(5)(A).

Responses to Interrogatory

INTERROGATORY NO. 19: Please identify the accountant(s) or other
individuals who are either retained, engaged as service professionals, or employed
by BCSC for the purpose of preparing budgets, balance sheets, profit and loss
statements, or statements of revenue and expenses, and who track administrative
costs, including, but not limited to, “opportunity costs” and legal expenses.

RESPONSE: Defendant is not contending in this case that it incurred any
specific administrative costs as evidence that it suffered undue hardship in
addressing Plaintiffs request for accommodation. Therefore, Defendant objects to

this request as not relevant.

Without waiving this objection, Defendant states that no individual or
‘individuals is (or are) retained, engaged, or employed for the purpose of completing
all tasks identified in Interrogatory No. 19. For example, The Defendant does not

prepare a “profit and loss statement” nor does it track opportunity costs. Defendant

states that its chief financial officer, Shane Hacker, is the individual who prepares

budgets and similar financial documents and who would have general knowledge of

the Defendant’s administrative costs.
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Affirmation

| affirm, under penalties of perjury, that:

a. Iam the Superintendent for Brownsburg Community School Corporation, the
Defendant in the above-captioned case.

b. Ihave read the foregoing interrogatories and responses;

c. Ido not have personal knowledge of all information that is requested in the
interrogatories and believe that no individual has personal knowledge of all such
matters; and

d. Ihave made a reasonably inquiry in response to the foregoing interrogatories and
believe that the information reflected in the responses is true based on information

known to me, , on information supplied by others, and on information reflected in

documents.

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Ku Dated: G. 5 Cae

r. Jim Sngpp

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As to Objections:

Respectfully submitted,

CHURCH CHURCH HITTLE + ANTRIM

By: tim Co
Alexander P. a rney #26543-49

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Certificate of Service

I, the undersigned, hereby certify that a copy of the foregoing has been served on
the following by depositing the same in the United States mail, postage prepaid,
properly addressed, this @ YA day of July, 2020:

Kevin E. Green Michael J. Cork

Kevin Green Associates Michael J. Cork, Esq.

456 N. Meridian Street, #1517 5754 N. Delaware St.
Indianapolis, IN 46204 Indianapolis, IN 46220-2528

Roscoe Stovall, Jr.
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Alexander P. Pinegar, #26543-49

